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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE


JULIUS CEPHAS, PAUL CUTLER, EMMETT
FOSTER, and SALLY CHAPMAN,
                         Plaintiff,

                    v.
                                                    No. 16-cv-316 (RGA)
INTERNATIONAL LONGSHOREMEN'S
ASSOCIATION, AFL-CIO, HAROLD J.
DAGGETT, WILLIAM AsHE, JR., and BRIAN
WITIW,
                         Defendant.



                                      MEMORANDUM ORDER

      Defendants move to dismiss Plaintiffs' Complaint charging them with

improperly imposing a trusteeship on Local 1649-1 and disciplining Plaintiffs

without proper notice and without a fair hearing.

      As a threshold matter, I will not review the hearing transcript because it is

not appropriate material for a 12(b)(6) motion. In evaluating a motion to dismiss, a

court may consider "the allegations in the complaint, exhibits attached to the

complaint, matters of public record, and documents that form the basis of a claim."

Lum v. Bank of Am., 361 F.3d 217, 221 nt. 3 (3rd Cir. 2004). A court that considers

other documents converts the motion to dismiss to a motion for summary judgment.

In re Burlington Coat Factory, 114 F.3d 1410, 1426 (3rd Cir. 1997). Relevant here,
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"a court that examines a transcript of a prior proceeding to find facts converts a

motion to dismiss into a motion for summary judgment." S. Cross Overseas

Agencies, Inc. v. Wah Kwong Shipping Grp., 181 F.3d 410, 427 nt. 7 (3rd Cir. 1999);

see also Matthews v. Postmaster Gen., 1999 WL 232013, at *3 (D. N.J. Apr. 12, 1999)

(converting a motion to dismiss to a motion for summary judgment because of

reliance on documents including a hearing transcript). I decline to convert the

motion to dismiss into a motion for summary judgment at this stage and thus will

not consider the hearing transcript.

        Defendants' Motion to Dismiss Count I is DENIED. Plaintiffs' allegations are

sufficient to raise a plausible claim that the Executive Council lacked a proper

purpose when imposing the trusteeship.                                                  i


        Defendants' Motion to Dismiss Count II is DENIED. Plaintiffs' allegations,
                                                                                        i
when considered in the light most favorable to Plaintiffs, are sufficient to raise a    I!
                                                                                        I
plausible claim at least that they were effectively denied cross-examination and

thus deprived of a fair hearing.

        Defendants' Motion to Dismiss Count III is DENIED. Plaintiffs' allegations      I
                                                                                        I
are sufficient to raise a plausible claim that Plaintiff Cephas was not given           I
adequate notice that he would be barred from running for office and thus that the

Executive Council violated 28 U.S.C. § 411(a)(5).

        Defendants' Motion to Dismiss Count IV is DENIED. Because Plaintiffs'

allegations otherwise state plausible claims that the Executive Council acted

impermissibly, Plaintiffs' allegations are sufficient to raise a plausible claim that
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the Executive Council violated its own Constitution in imposing the trusteeship and

other punishment against Plaintiffs.

       IT IS SO ORDERED this_) day of March 2017.




                                            United States




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